Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 1of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter il

Case No. 14-12514 (CSS)
KIOR, INC.’

Re: Docket Nos. 470 & 611
Debtor.

ORDER CONFIRMING KIOR INC.’S SECOND AMENDED CHAPTER 11 PLAN OF
REORGANIZATION, AS REVISED DATED JUNE 1, 2015

A HEARING HAVING BEEN HELD BY THE COURT on June 3, 2015 (the
“Confirmation Hearing”) to consider confirmation of KiOR, Inc.’s Second Amended Chapter
11 Plan of Reorganization, as Revised Dated June 1, 2015, attached hereto as Exhibit A (the
“Plan”), the solicitation version of which was dated April 7, 2015 [Docket No. 470], proposed
by KiOR, Inc. (the “Debtor” or, as reorganized pursuant to the Plan, the “Reorganized
Debtor”);

THE COURT NOTING that the Second Amended Disclosure Statement For KiOR, Inc.’s
Second Amended Chapter 11 Plan of Reorganization, as Revised Dated April 7, 2015, the
solicitation version of which is dated April 8, 2015 [Docket No. 487] (the “Disclosure
Statement”), has been previously approved by the Court, pursuant to the Order (1) Approving
Disclosure Statement; (II) Approving Solicitation Package; (III) Establishing Voting Record
Date for Entitlement to Solicitation Package and to Vote on Plan of Reorganization, (IV)
Approving Procedures for Distribution of Solicitation Package; (V) Approving Form of Ballots;

(VI) Establishing Last Date for Receipt of Ballots; (VI) Approving Procedures for Vote

' The Debtor in this Chapter 11 case, along with the last four digits of the Debtor's federal tax identification
number, is KiOR, Inc. (2233). The above-captioned Debtor’s mailing address is 1301] Bay Park Road, Pasadena,
Texas 77507

RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 2 of 33

Tabulation; (VI) Establishing Deadline and Procedures for Filing Objections to Confirmation
of Plan of Reorganization; and (IX) Approving Form and Manner of Notice of Confirmation
Hearing and Related Issues, entered on April 9, 2015 [Docket No. 494] (the “Disclosure
Statement Order”);

IT APPEARING TO THE COURT that the Court-approved solicitation and noticing
procedures have been followed as set forth in the Declaration of Stephenie Kjontvedt on Behalf
of Epig Bankruptey Solutions, LLC Regarding Voting And Tabulation of Ballots Accepting and
Rejecting KiOR, Inc.’s Second Amended Chapter 11 Plan of Reorganization, as Revised Dated
April 7, 2015 [Docket No. 591] (the “EPIO Declaration”);

IT FURTHER APPEARING TO THE COURT that the Debtor has filed with the Court
the (a) Notice of (1) Schedule of Assumed Executory Contracts and Unexpired Leases and
Proposed Cure Amounts in Connection with KiOR Inc.’s Second Amended Chapter 11 Plan of
Reorganization, as Revised Dated April 7, 2015 and (II) Proposed Cure Claim Amounts Relating

Thereto [Docket No. 560] (the “Assumption Notice”); and (b) Notice of Filing of Second Plan

Supplement dated May 13, 2015 [Docket No. 564], collectively containing the following: (i)
documents related to the Reorganized Debtor’s Exit Facility’; (ii) identification of the officers
and the members of the board of directors of the Reorganized Debtor; (iii) the Reorganized
Debtor’s governing documents; (iv) the list of executory contracts and unexpired leases to be
assumed pursuant to Article VI of the Plan; and (v) the Liquidating Trust Agreement
(collectively and as they may be modified in accordance with their respective terms, the “Plan

Documents”);

2 Capitalized terms used herein without definition have the meanings provided for in the Plan. In addition,

any term used in the Plan or this Confirmation Order that is not defined in the Plan or this Confirmation Order, but
that is used in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, respectively.

RLF] 12079040v.2
Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 3 of 33

IT FURTHER APPEARING TO THE COURT that the deadline for filing objections to
the Plan has passed and the following objections were filed:
(i) Objection of the Mississippi Development Authority to the Debtor’s Second
Amended Chapter 1] Plan of Reorganization, as Revised Dated April 7, 2015
[Docket No. 580} (the “MDA Objection”);

(ii) United States Trustee’s Objection to Debtor’s Second Amended Chapter I! Plan
of Reorganization, as Revised Dated April 7, 2015 [Docket No. 593] (“UST

Objection”);

(iii) Leidos Engineering, LLC’s Objection to Confirmation of KiOR, Inc.’s Second
Amended Chapter 11 Plan of Reorganization [Docket No. 576];

(iv) Limited Objection of Dave Carlton and Sharon Kegerreis to KiOR’s Second
Amended Chapter 11 Plan of Reorganization, as Revised Dated April 7, 2015
[Docket No. 582];

(v) Objection of Mississippi Department of Revenue to Confirmation of the Second
Amended Chapter 11 Plan of Reorganization as Revised Dated April 7, 2015
[Docket No. 583] (the “MDOR Objection”);

(vi) Objection of Robert C. Dalton to the Plan of Reorganization and Confirmation of
the Plan of Reorganization of KiOR, Inc. [Docket No. 587].

IT FURTHER APPEARING TO THE COURT that the deadline for casting ballots to
accept or reject the Plan has passed and that the results of voting have been certified by EPIQ
Bankruptcy Solutions, acting as voting agent, as set forth in the EPIQ Declaration and that at
least one Impaired Class of Creditors has voted in favor of the Plan excluding the votes of any
Insiders;

IT FURTHER APPEARING TO THE COURT that the Debtor has presented testimony,
evidence and argument of counsel in support of confirmation of the Plan, and other parties in

interest have had the opportunity to cross-examine witnesses, present additional testimony,

evidence or argument of counsel;

RLF] 12079040v,2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 4of 33

IT FURTHER APPEARING TO THE COURT that the Exit Facility has been amended
in accordance with comments of the Court at the Confirmation Hearing as reflected in the

Amended Exit Facility [Docket No. 637] (the “Amended Exit Facility”).

NOW, THEREFORE, based upon the Court’s review of (a) the Disclosure Statement, (b}
the Plan, (c) the Pian Documents, (d) the evidence and testimony, (e) the EPIQ Declaration, (f)
the MDA Objection and the other filed objections, (g) all of the evidence proffered or adduced
at, filings in connection with, and arguments of counsel made at, the Confirmation Hearing, the
entire record of the Chapter 11 Case; after due deliberation thereon and good cause appearing
therefor, for the reasons set forth on the record at the Confirmation Hearing,

IT IS HEREBY FOUND AND DETERMINED THAT?3

A. Jurisdiction; Venue; Core Proceeding. The Court has jurisdiction over the

Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C.
§§ 1408 and 1409. Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C.
§ 157(b)(2)(L) upon which this Court may issue a final order, and confirmation of a plan by this
Court is a constitutional exercise of the jurisdiction and power conferred by Congress on this
Court. This Court has exclusive jurisdiction to determine whether the Plan complies with the
applicable provisions of the Bankruptcy Code and should be confirmed.

B. Judicial Notice. The Court takes judicial notice of the docket of the Chapter 11

Case maintained by the Clerk of the Court and/or its duly-appointed agent, including, without
limitation, all proofs of claim, all pleadings and other documents filed with, all orders entered by,
and al] evidence and argument made, proffered or adduced at the hearings held before the Court

during the pendency of the Chapter 11 Case.

3 The findings of fact and the conclusions of law stated in this Confirmation Order shall constitute findings

of fact and conclusions of law pursuant to Fed. R. Bankr. P. 7052, made applicable to the proceeding by Fed. R.
Bankr. P. 9014. To the extent any finding of fact shall be determined to be a conclusion of law, it shall be so
deemed, and to the extent any conclusion of law shail be determined to be a finding of fact, it shall be so deemed.

4
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 5 of 33

Cc. Transmittal and Mailing of Solicitation Materials and Notices. The solicitation

materials and notices prescribed by the Disclosure Statement Order were served in compliance
with the Disclosure Statement Order, and such service was appropriate and sufficient.
Appropriate and sufficient notice of the Confirmation Hearing and the other deadlines and
matters required to be noticed pursuant to the Disclosure Statement Order was given in
compliance with the Bankruptcy Code, the Bankruptcy Rules and the Disclosure Statement
Order, and no other or further notice is or shall be required.

D. Adequacy of Solicitation Procedures. Ali procedures used to distribute the

solicitation materials to the appropriate creditors and interest holders entitled to vote on the Plan
and to tabulate the ballots returned by creditors and interest holders were fair and were
conducted in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy
Rules and the Disclosure Statement Order. Votes for acceptance or rejection of the Plan were
solicited and cast in good faith, and only after transmittal of a disclosure statement containing
adequate information, and otherwise in compliance with 11 U.S.C. §§ 1125 and 1126 and Fed.
R. Bankr. P. 3017 and 3018.

E, Good Faith Solicitation -- 11 U.S.C. § 1125(e). The Debtor and its Professionals

have acted in good faith within the meaning of 11 U.S.C. §§ 1125(e) and 1129(a}(3), and in
compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and
the Disclosure Statement Order in connection with all of their respective activities relating to the
solicitation of acceptances of the Plan and their participation in the activities described in 11
U.S.C. § 1125, and are entitled to the protections afforded by 11 U.S.C. § 1125¢e). Nothing in
this paragraph limits, to the extent applicable, the exculpation and injunctive provisions set forth

in Articles X.E and X.G of the Plan.

RLF1 12079040w.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 6 of 33

F. Impaired Classes that Have Voted to Accept or Reject the Plan. Classes 1-2 and

7-9 are each Impaired under and entitled to vote on the Plan. As evidenced by the EPIQ
Declaration, which certified both the method and results of the voting, Classes 1, 2, 5, 6, 7, and 8
have voted to accept the Plan pursuant to the requirements of 11 U.S.C. §§ 1124 and 1126, and
Classes 5,6, 7 and 8 each voted in favor of the Plan excluding the votes of any Insiders. Class 9
voted to reject the Plan.

G. Classes Deemed to Accept Plan. Classes 4, 5 and 6 are Unimpaired under the

Plan. Pursuant to 11 U.S.C. § 1126(f), holders of such Unimpaired Claims are conclusively
presumed to have accepted the Plan.

H. Classes Deemed to Reject Plan. Classes 3, 10 and 11 are Impaired under the Plan
and not anticipated to receive any distribution under the Plan. Pursuant to 11 U.S.C. § 1126(g),
holders of Impaired Claims or Interests that are not anticipated to receive a distribution under the
Plan are conclusively presumed to have rejected the Plan.

I. Releases, Exeulpations and Injunctions. The release, exculpation and injunction

provisions set forth in Article X.B, X.C, X.D, X.E, and X.G of the Plan, as modified: (a) are
within the jurisdiction of the Court under 28 U.S.C. §§ 1334(a), 1334(b) and 1334(d); (b) are an
essential means of implementing the Plan pursuant to 11 U.S.C. § 1123(a)(5); (c) are an integral
element of the transactions incorporated into the Plan; (d) confer material benefits on, and are in
the best interests of, the Debtor, its Estate and its creditors: (€) are important to the overall
objectives of the Plan to finally resolve ali Claims among or against the key parties in interest in
the Chapter 11 Case with respect to the Debtor; and (f) are consistent with 11 U.S.C. §§ 105,
1123 and 1129, and other applicable provisions of the Bankruptcy Code. With respect to the
limited release provided by holders of Claims and Interests who affirmatively voted in favor of

the Plan pursuant to Article X.D of the Plan and did not opt out of such release, such releases are

RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 7 of 33

(a) consensual, (b) in exchange for the good and valuable consideration provided by the released
parties, representing a good faith settlement and compromise of any claims released therein; (c)
in the best interests of the Debtor and all holders of Claims and Interests; (d) narrowly tailored;
(e) fair, equitable and reasonable; and (f) a bar to any of the releasing parties’ assertion of any
claim released by such provisions. The record of the Confirmation Hearing and the Chapter 11
Case is sufficient to support the release, exculpation and injunction provisions contained in the
Plan.

J. Objections and Resolutions.

(i} MDOR Objection. The Debtor resolved the MDOR Objection by making

certain revisions to the Plan to clarify the Reorganized Debtor’s responsibility for filing
objections to and paying Allowed Priority Tax Claims, along with other non-substantive
clarifications,

(ii) The UST Objection. The Debtor resolved, in part, the UST Objection by
excluding from the exculpation provisions of the Plan any act, omission, transaction,
agreement, event or other occurrence, constituting fraud, criminal conduct, gross
negligence or willful misconduct. Classes 5 and 6 are Unimpaired.

K. Plan Compliance with Bankruptcy Code — 11 USC. §] 129fa}(i). The Plan

complies with the applicable provisions of the Bankruptcy Code, thereby satisfying 11 U.S.C,
§ 1129(a)(1).

(i) Proper Classification -- 11 USC. §§ 1122, 1123(a}(1). Aside from

Administrative Claims and Priority Tax Claims, which need not be classified, the Plan
designates eleven Classes of Claims and Interests against the Debtor. The Claims and
Interests placed in each Class are substantially similar to other Claims and Interests, as

the case may be, in each such Class. The classification of Claims and Interests in the

RLF1 12079040v.2

EEE EE EEEEEEEEEEEEEETTIEDNESS<CTC ee OO

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 8 of 33

Plan is reasonable and necessary, has a rational, justifiable, and good faith basis. Valid
business, factual and legal reasons exist for separately classifying the various Classes of
Claims and Interests created under the Plan, and such Classes do not unfairly discriminate
among holders of Claims and Interests. Thus, the Plan satisfies 11 U.S.C. §§ 1122 and
1123(a\(1).

(ii) Specify Unimpaired Classes -- 11 U.S.C. § 1123(a)(2). Article IDLA and

II1.B.4 of the Plan specify that Class 4 is Unimpaired under the Plan, thereby satisfying
11 U.S.C. § 1123(a}(2).

(iii) Specify Treatment of Impaired Classes -- 1] U.S.C. § 1123(a)(3). Article

TILA and IILB.1-3 and 5-11 of the Plan specify that Classes 1-3 and 5-11] are Impaired,
and Article IJI.B of the Plan specifies the treatment of Claims and Interests in those
Classes, thereby satisfying 11 U.S.C. § 1123(a)(3).

(iv) No Discrimination -- 11 U.S.C. § 1123(a)(4). The Plan provides for the

same treatment for each Claim or Interest in each respective Class unless the holder of a
particular Claim or Interest has agreed to a less favorable treatment of such Claim or
Interest, thereby satisfying 11 U.S.C. § 1123(a)(4).

(v)  Jmplementation of Plan -- 11 US.C_ § 1123(a)(5). Article V and other

provisions of the Plan provide adequate means for implementation of the Plan, including:
(a) vesting all of the property of the Estate and of the Debtor in the Reorganized Debtor
free and clear of any and all Claims, Liens and Equity Interests, except for those Claims
and Liens expressly provided for in the Plan; (b) the assumption of Assumed Liabilities
by the Reorganized Debtor; (c) conversion of the Allowed DIP Financing Claims into the
New Equity Interests in the Reorganized Debtor; (d) provision of the Exit Facility; (e}

creation of the Liquidating Trust, funding of the Liquidating Trust, and vesting of the

RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 9 of 33

Liquidating Trust Assets in the Liquidating Trust; and (£) appointment of the Liquidating
Trustee. The Plan provides adequate and proper means for its implementation, thereby
satisfying 11 U.S.C. § 1123(a)(5).

(vi) Non-Voting Equity Securities -- 1] U.S.C. § 1123(a)(6}. The Reorganized

Debtor’s governing documents include provisions prohibiting the issuance of non-voting
equity securities, to the extent required by 11 U.S.C. § 1123(a)(6) and limited as
necessary to facilitate compliance with applicable non-bankruptcy federal laws governing
foreign ownership of the Debtor. Thus, the requirements of 11 U.S.C. § 1123(aX6) are
satisfied.

(vii) Selection of Officers and Directors -- 11 U.S.C. § 1123(a){7). In the Plan

Supplement, the Debtor has properly and adequately disclosed the identity and
affiliations of all individuals proposed to serve on or after the Effective Date as (a)
directors of the Reorganized Debtor (subject to replacement or removal in accordance
with the terms of the Reorganized Debtor’s governing documents) and (b) officers of the —
Reorganized Debtor, and the manner of selection and appointment of such individuals is
consistent with the interests of holders of Claims and Interests and with public policy
and, accordingly satisfies the requirements of 11 U.S.C. § 1123¢a)(7).

(viii) Additional Plan Provisions -- 11 U.S.C. § 1123(b}. The Plan's additional

provisions, including in respect of the assumption or rejection of the Debtor’s executory
contracts and unexpired leases and the settlements and compromises effected by the Plan,
are appropriate and not inconsistent with the applicable provisions of the Bankruptcy
Code.

(ix) Compliance with Fed_R. Bankr. P. 3016. The Plan is dated and identifies

the entity submitting it, thereby satisfying Fed. R. Bankr. P. 3016(a). The filing of the

RLF] 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 10 of 33

Disclosure Statement with the Court satisfies Fed. R. Bankr. P. 3016(b). Further, the
Plan and Disclosure Statement describe in specific and conspicuous language all acts to
be enjoined and identify the entities that are subject to the injunction, satisfying Fed. R.
Bankr. P. 3016(c) to the extent applicable.

(x) Compliance with Fed_R. Bankr. P. 3017. The Debtor has given notice of

the Confirmation Hearing as required by Fed. R. Bankr. P. 3017(d) and the Disclosure
Statement Order. The solicitation materials prescribed by the Disclosure Statement Order
were transmitted to creditors and interest holders entitled to vote on the Plan in
accordance with Fed. R. Bankr. P. 3017(d).

(xt) Compliance with Fed_R. Bankr. P. 3018. The solicitation of votes to

accept or reject the Plan satisfies Fed. R. Bankr. P. 3018. The Plan was transmitted to all
creditors and interests holders entitled to vote on the Plan, sufficient time was prescribed
for such creditors and interest holders to accept or reject the Plan, and the solicitation
materials used and solicitation procedures followed comply with 11 U.S.C. §§ 1125 and
1126, thereby satisfying the requirements of Fed. R. Bankr. P. 3018.

L. Compliance with Bankruptcy Code -- 11 U.S.C. § 1129(a)(2). The Debtor, as the

proponent of the Plan, has complied with the applicable provisions of the Bankruptcy Code,
thereby satisfying 11 U.S.C. § 1129(a)(2).

M. Plan Proposed_in Good Faith -- 1] U.S.C. § 1129(a)(3). The Debtor has

proposed the Plan in good faith and not by any means forbidden by law, thereby satisfying 11
U.S.C. § 1129(a)(3). In determining that the Plan has been proposed in good faith, the Court has
examined the totality of the circumstances surrounding the formulation of the Plan. The Debtor
filed its Chapter 11 Case and the Plan with legitimate and honest purposes including, among

other things, maximization of the recovery to creditors under the circumstances of the case.

10

RLF! 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 11 of 33

Furthermore, the Plan and the Plan Documents reflect and are the result of extensive, arm’s-
length and good faith negotiations among the Debtor, the Plan Support Parties and other
creditors and parties in interest in the Chapter 11 Case and are consistent with the best interests
of the Estate, creditors and other stakeholders. The Plan achieves a fair result, consistent with
the objectives and purposes of the Bankruptcy Code. The Debtor, the Plan Support Parties, and
each of their respective officers, directors, employees, advisors and professionals acted in good
faith in negotiating, formulating, and proposing, where applicable, the Plan, the Plan Documents,
and all the agreements, compromises, settlements, transactions, and transfers contemplated
thereby.

N. Payments for Services or Costs and Expenses -- 11 U.S.C. § 1129f(a)(4). All

payments made or to be made by the Debtor or by a person issuing securities or acquiring
property under the Plan, for services or for costs and expenses in or in connection with the
Chapter 11 Case, or in connection with the Plan and incident to the Chapter 11 Case, have, to the
extent required by the Bankruptcy Code, been approved by, or are subject to the approval of, the
Court as reasonable, thereby satisfying 11 U.S.C. § 1129(a)(4).. Without limiting the generality
of the foregoing, the selection and compensation of the Liquidating Trustee in accordance with
the Plan and the Liquidating Trust Agreement is appropriate and proper.

Oo. Director, Officers and Insiders - I} USC. § 1129(a)(5). The Debtor has

complied with 11 U.S.C. § 1129(a\(5). The identity and affiliations of the persons who will
serve as initial directors and officers of the Reorganized Debtor as of the Effective Date have
been fully disclosed in the Plan Supplement. The election or appointment to, or continuance in,
such offices of such persons is consistent with the interests of holders of Claims against and
Interests in the Debtor and with public policy. Any replacement or removal of the initial

directors and officers of the Reorganized Debtor shall be subject to the terms of the Reorganized

11
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 12 of 33

Debtor’s governing documents. The identity of any insider that will be employed or retained by
the Reorganized Debtor and the nature of such insider’s compensation have also been fully
disclosed, to the extent applicable and presently determinable.

P. No Rate Changes -- 1] U.S.C. § 1129(a)(6). There is no regulatory commission

having jurisdiction after confirmation of the Plan over the rates of the Debtor and no rate change
provided for in the Pian requiring approval of any such commission. Therefore, 11 U.S.C. §
1129(a)(6) is not applicable.

Q. Best Interests of Creditors -- 11 U.S.C. § 1129(a)(7}. The Plan satisfies 11 U.S.C.

§ 1129(a)(7). The liquidation analysis included in the Disclosure Statement and any other
evidence proffered or adduced at the Confirmation Hearing (a) are reasonable, persuasive and
credible, (b) use reasonable and appropriate methodologies and assumptions, (c) have not been
controverted by other evidence, and (d) establish that each holder of an Impaired Claim or
Interest either has accepted the Plan or will receive or retain under the Plan, on account of such
Claim or Interest, property of a value, as of the Effective Date, that is not less than the amount
that such holder would receive or retain if the Debtor were liquidated under chapter 7 of the
Bankruptcy Code on such date. A chapter 7 liquidation of the Debtor would likely result in
reduced recoveries for all of the Debtor’s creditors due to statutorily required fees that would be
paid to any chapter 7 trustee appointed in such converted case. However, pursuant to the Plan,
holders of Administrative Claims, Priority Tax Claims, and Other Secured Claims will receive
full recovery on account of such Claims. Further, holders of DIP Financing Claims, Secured Tax
Claims, Employee Priority Claims, Continuing Trade Creditor Claims, Convenience Class
Claims, and General Unsecured Claims are also entitled to receive distributions or other

consideration with some value, and thus, the distributions provided under the Plan to all Holders

12
RLF] 12079040v.2

oo
Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 13 of 33

of Claims and Interests equal or exceed the distributions that would be available in a chapter 7
liquidation.

R. Acceptance or Rejection by Certain Classes -- 11 USC. §] 129fa) (8). As

evidenced by the EPIQ Declaration Class 4 is a Class of Unimpaired Claims that are
conclusively presumed to have accepted the Plan under 11 U.S.C. § 1126(f). Classes 1, 2, 5, 6,
7, and 8 are Impaired and have voted to accept the Plan. Class 9 is Impaired and has voted to
reject the Plan and Classes 3, 10, and 11 are deemed to have rejected the Plan. The Court
determined that Classes 5 and 6 are not Impaired. Nevertheless, the Plan is confirmable because
it satisfies 11 U.S.C. § 1129(b) with respect to such non-accepting Classes of Claims and
Interests as detailed more fully in paragraph AA below.

S. Treatment of Administrative and Priority Tax Claims -- 11 U.S.C. § 1129(a)(9).

The treatment of Administrative Claims and Priority Tax Claims pursuant to Article IA of the
Plan satisfies the requirements of 11 U.S.C. §§ 1129(a)(9)(A), (B) and (C).

T. Acceptance by Impaired Class -- 11 U.S.C. § 1129fa)(10}. Classes 7 and 8 are

each Impaired, entitled to vote and have voted to accept the Plan in accordance with 11 U.S.C. §

1126(c) excluding the votes of Insiders holding Allowed Claims in any of those Classes.
Therefore, the requirement of 11 U.S.C. § 1129(a)(10) that at least one Class of Claims against
or Interests in the Debtor that is Impaired under the Plan has accepted the Plan, determined
without including any acceptance of the Plan by any Insider, has been satisfied.

U. Feasibility -- 1] U.S.C. §1129/a)(11). The Disclosure Statement, the Artzer

Declaration and other evidence proffered or adduced by the Debtor at the Confirmation Hearing
with respect to feasibility (a) are reasonable, persuasive and credible, (b) have not been
controverted by other evidence or challenged in any objection, and (c) establish that confirmation

of the Plan is not likely to be foliowed by the liquidation, or the need for further financial

13
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 14 of 33

reorganization, of the Reorganized Debtor. Based upon the foregoing, and particular, the
changes to the Exit Facility set forth in the Amended Exit Facility, the Court finds that the
Debtor has satisfied the requirements of 11 U.S.C. § 1129(a)(11).

V. Payment of Fees ~ 11 U.S.C, § 1129(a){12). All fees payable under 28 U.S.C. §

1930 on or before the Effective Date, as determined by the Court, have been paid or will be paid
on the Effective Date pursuant to Article XIULC of the Plan, thus satisfying the requirements of

11 U.S.C. § 1129(a)(12).

W. Continuation of Retiree Benefits -- 11 U.S.C. § 11 29(a)(13). The Debtor does not
provide or pay any “retiree benefits,” as such term is defined in 1] U.S.C. § 1114, and Section
1129({a)(13) of the Bankruptcy Code is therefore inapplicable to the Plan.

x, No Domestic Support Obligations -- 11 U.S.C. § 1129(a)(14}. The Debtor is not

required by a judicial or administrative order, or by statute, to pay any domestic support
obligation, and 11 U.S.C. § 1129(a}(14) is therefore inapplicable to the Plan.

Y. individual Debtor Requirements -- 11 USC. & 1129(a)(15). The Debtor is not an

individual, and 11 U.S.C. § 1129(a)(15) is therefore inapplicable to the Plan.

Z. Transfers of Property — 11 US.C. § 1129(a)(16). The Debtor is a moneyed,

business, or commercial corporation or trust, and 11 U.S.C. § 1129(a)(16) is therefore
inapplicable to the Plan.

AA.  fkair_and Equitable; No Unfair Discrimination as to Rejecting Classes — J]

U.S.C. § 1129(5). Class 9 is an Impaired Class of Claims that has voted to reject the Plan.

Classes 3, 10, and 11 are deemed to reject the Plan. The Plan does not discriminate unfairly and
is fair and equitable with respect to Class 9 as required by 11 U.S.C. § 1129(b)(1) because 11
U.S.C. § 1129(b)(2)(B) is satisfied. The Plan does not discriminate unfairly and is fair and.

equitable with respect to Classes 3, 10, and 11 because 11 U.S.C. § 1129(b)(2)(B) and (b){2)(C),

14
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 15 of 33

as applicable, are satisfied. Thus, the Plan may be confirmed notwithstanding 11 U.S.C. §
1129(a)(8). Upon confirmation and the occurrence of the Effective Date, the Plan shall be
binding upon the members of Classes 3, 9, 10, and 11 and meets the criteria of 11 U.S.C. §
1129(b)(2)(B)(ii) and (b)(2)(C)ii), as applicable, because no Class lower in the capital structure
of the Debtor will obtain any distribution or retain any interest prior to Holders of Claims or
Interest in such Classes being paid in full. To the extent required, the value to be provided in
connection with the conversion of the Allowed DIP Financing Claims into the New Equity
Interests in the Reorganized Debtor has been market tested as a result of the bidding procedures
approved by this Court [Docket No. 131], which procedures allowed for a public auction in
which bids of at least $17,135,000 (which amount is less than the amount of the Allowed DIP
Financing Claims to be converted to equity) would be considered to acquire all of the Debtor’s
assets or all of the equity in a reorganized debtor. Such a public auction followed an extensive
pre-bankruptcy marketing of the Debtor and its assets, which marketing process likewise did not
locate any potential purchaser. The pre- and post-bankruptcy opportunities for any interested
parties to bid on the Debtor and/or its assets have thoroughly exposed such interests to the
market and have confirmed that the value to be provided in connection with the conversion of the
Allowed DIP Financing Claims into the New Equity Interests in the Reorganized Debtor exceeds
what third-party market participants would pay for the New Equity Interests. For all the
foregoing reasons, the Plan may be confirmed notwithstanding the rejection or deemed rejection
by Classes 3, 9, 10, and 11.

BB. Qnly One Plan -- 11 U.S.C. § 1129(c). Other than the Plan (including previous

versions thereof), no other plan has been filed in the Chapter 11 Case. Accordingly, the

requirements of 11 U.S.C. § 1129(c). have been satisfied.

15
RLF? 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 16 of 33

CC. Principal Purpose -- 11 U.S.C. § 1129(d). The principal purpose of the Plan is

neither the avoidance of taxes nor the avoidance of the application of Section 5 of the Securities
Act of 1933, and no governmental unit has objected to the confirmation of the Plan on any such
grounds. The Plan, therefore, satisfies the requirements of 11 U.S.C. § 1129(d).

DD. No Objection to Disposition of Contracts and Leases. Pursuant to Article VI of
the Plan, the Debtor has exercised sound business judgment in assuming and rejecting executory
contracts and unexpired leases. No party to an executory contract or unexpired lease to be
assumed by the Debtor pursuant to the Plan or rejected by the Debtor pursuant to the Plan has
objected to the assumption or rejection thereof.

EE. Engagement in Business. Because the Reorganized Debtor will engage in
business following consummation of the Plan, 11 U.S.C. § 1141(d)(3) is not applicable,

FF. Modifications to the Plan. Subsequent to solicitation, the Debtor made certain

modifications to the Plan. Many of those modifications were non-material, but some
modifications made material changes in respect of the treatment and rights of certain of the Plan
Support Parties under the Plan (including the treatment provided for Class 1 and Class 2 Claims
under the Plan). Each of the Plan Support Parties adversely affected by such modifications has
accepted such modifications in open court. All modifications to the Plan since the entry of
Disclosure Statement Order are consistent with all provisions of the Bankruptcy Code (including
Section 1127) and of the Bankruptcy Rules (including Bankruptcy Rule 3019(a)). None of the
modifications made since the commencement of solicitation adversely affects the treatment of
any Creditor under the Plan who has not accepted the modification. Prior notice regarding the
substance of any modifications to the Plan, coupled with the filing with the Court of the Plan as
modified, and the disclosure of the Plan modifications on the record at or prior to the

Confirmation Hearing constitute due and sufficient notice of any and all of such modifications.

16
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 17 of 33

Accordingly, none of the modifications requires additional disclosure or resolicitation of votes,
and under Bankruptcy Rule 3019(a), all Creditors that previously accepted the Plan are deemed
to have accepted the Plan as modified. Pursuant to 11 U.S.C. § 1127(£)\(2), the Plan as modified
shall constitute the Plan submitted for confirmation at the Confirmation Hearing.

GG. Burden of Proof. The Debtor has met its burden of proving the elements of 11

U.S.C. §§ 1129(a) and (b) by a preponderance of the evidence.

HH. Satisfaction _of Confirmation Requirements. The Plan satisfies all of the

requirements for confirmation set forth in 11 U.S.C. § 1129.

II. Consummation in Good Faith. The Debtor and the Plan Support Parties will be

acting in good faith if they proceed to (1) consummate the Plan and the agreements, settlements,
transactions, transfers, and distributions contemplated thereby; and (2) take the other acts or
actions authorized and directed by this Confirmation Order.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

1. Confirmation of Plan. The Plan, as previously modified and as may be amended
by this Confirmation Order, is approved and confirmed under 11 U.S.C. § 1129. Any and all
objections to the Plan, whether asserted in writing or at the Confirmation Hearing, not previously
withdrawn or resolved as described in this Confirmation Order are hereby overruled in their
entirety.

2. Incorporation of Terms and Provisions of Plan. The terms and provisions of the

Plan are incorporated by reference into and are an integral part of this Confirmation Order. Each
term and provision of the Plan is valid, binding and enforceable as though fully set forth herein.
The provisions of the Plan and this Confirmation Order, including the findings of fact and
conclusions of law set forth herein, are non-severable and mutually dependent. The failure

specifically to include or reference any particular term or provision of the Plan in this

17
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 18 of 33

Confirmation Order shall not diminish or impair the effectiveness of such term and provision, it
being the intent of the Court that the Plan, the Plan Documents, and all related agreements be
approved and confirmed in their entirety.

3. Binding Effect. Effective on the Effective Date, the Plan and its provisions shall
be binding upon the Debtor, the Reorganized Debtor, the Liquidating Trust, the Liquidating
Trustee, any individual or entity acquiring or receiving property or a distribution under the Plan
and any holder of a Claim against or Interest in the Debtor, including ali governmental entities,
whether or not the Claim or Interest of such holder is Impaired under the Plan and whether or not
such holder has accepted the Plan, and their respective successor and assigns. Pursuant to 11
U.S.C. §§ 1123(a), 1123(b) and 1142(a) and the provisions of this Confirmation Order, from and
after the Effective Date, the Debtor, the Reorganized Debtor, the Liquidating Trust and the
Liquidating Trustee shall comply with the Plan, the Plan Documents and ail other Plan-related
documents, and the Plan, the Plan Documents and all other Plan-related documents shall be
enforceable notwithstanding any otherwise applicable non-bankruptcy law.

4, Application of Absolute Priority Rule. The Plan satisfies the requirements of 11

U.S.C. § 1129(b) with respect to the rejecting votes of Class 9. Therefore, the treatment of the
Claims in Class 9 is approved. To the extent required, the value to be provided in connection
with the conversion of the Allowed DIP Financing Claims into the New Equity Interests in the
Reorganized Debtor has been subject to sufficient market test, which test has confirmed that such
value exceeds what third-party market participants would pay for the New Equity Interests.

5. Releases; Injunction. Subject to the exceptions and exclusions contained in the
Plan and this Confirmation Order, including, without limitation those set forth in Articles X.D,
X.E, and X.F of the Plan, the release provisions of Article X.D of the Plan are approved, are

incorporated by reference into and are an integral part of this Confirmation Order.

18
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 19 of 33

6. Determination of Discharge; Injunction. Subject to the exceptions and exclusions
contained in the Plan and this Confirmation Order, including, without limitation those set forth in
Articles X.B, X.E, and X.F of the Plan, the discharge provisions of Article X.B of the Plan are
approved, are incorporated by reference into and are an integral part of this Confirmation Order.
Pursuant to the Order Approving Stipulation Regarding Dischargeability of Claims and Stay of

Adversary Proceeding (the “MDA Stipulation Order”) [Adv. Proc. 15-50238, Docket No. 7],

the Court has approved the stipulation between the Debtor and the MDA providing that the
MDA and the State of Mississippi will not contend in this case, or in any other forum, that any
claim which has been or could be asserted in the MDA’s proof of claim (Claim No. 70)
(including any subsequently asserted amendment, modification, or supplement thereof, the
“MDA. Claim”) is excepted from discharge as to the Reorganized Debtor (as defined in the
Plan), by operation of 11 U.S.C. § 1141(d)(6). Accordingly, such potential exception to the
discharge contained in the Plan does not and will not apply to the MDA Claim and, because there
is no other applicable exception to such discharge for the MDA Claim, such discharge includes
the MDA Claim. Except as otherwise expressly provided herein, upon the Effective Date, all
holders of Claims and Interests shall be forever precluded and enjoined, pursuant to Sections
105, 524, 1141 of the Bankruptcy Code and Article X.E of the Plan, from prosecuting or
asserting any such discharged Claim against or terminated Interest in the Debtor or the
Reorganized Debtor. Notwithstanding anything to the contrary in this Confirmation Order or the
Plan, nothing in this Confirmation Order or the Plan discharges, releases, resolves, exculpates,
precludes, or enjoins: (i) any environmental liability to any governmental unit that is not a Claim
as defined in 11 U.S.C. § 101(5); (ii) any environmental Claim of any Governmental Unit arising
on or after the Effective Date; (iii) any environmental liability to any Governmental Unit on the

part of any entity as the owner or operator of property after the Effective Date; (iv) any liability

19
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 20 of 33

to the United States on the part of any person or entity other than the Debtor or Reorganized
Debtor; or (v) any valid right of setoff or recoupment of the United States. Further, nothing in
the Plan shall be deemed to release, enjoin, bar or otherwise impair the claims asserted by the
plaintiffs in Civil Action No. 4:15-cv-00012; however, the plaintiffs’ request to continue their
lawsuit in Civil Action No. 4:13-cv-02443 as to any applicable insurance proceeds is denied,
without prejudice. The Debtor’s discharge and release from all Claims as provided herein and in
the Plan shall not diminish, impair, or otherwise affect (i) any claim, right, or causes of action
that any Creditor or other Person or Entity owns and holds for its own account against KiOR
Columbus; or (ii) the enforceability of any insurance policy that may provide coverage for claims
against the Debtor, the Reorganized Debtor, their current and former directors and officers, or
any other person or entity.

7. Exculpation; Injunction. Subject to the exceptions and exclusions contained in
the Plan and this Confirmation Order, including, without limitation those set forth in Articles
X.E, X.P, X.G of the Plan, the exculpation provisions of Article X.G of the Plan, as modified are
approved, are incorporated by reference into and are an integral part of this Confirmation Order.

8. Injunction. Subject to the exceptions and exclusions contained in the Plan and
this Confirmation Order, including, without limitation those set forth in Articles X.B, X.D, and
X.E of the Plan, the injunction provisions of Article X.E of the Plan are approved, are
incorporated by reference into and are an integral part of this Confirmation Order.

9. Cancellation of Interests. Pursuant to Article [H.B.11 of the Plan, except as
otherwise specifically provided in the Plan or in this Confirmation Order, all Equity Interests
shall be deemed automatically cancelled, discharged, and surrendered and shall be of no further

force, and the obligations of the Debtor thereunder or in any way related thereto, including any

20
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 21 of 33

obligation of the Debtor to pay any franchise or similar type taxes on account of such Interests,
shall be discharged.

10. Plan Implementation Authorization. All implementing actions required or
contemplated by the Plan, including issuance of the New Equity Interests, the revesting of assets
in the Reorganized Debtor, the appointment of the Liquidating Trustee, and the vesting of the
Liquidating Trust Assets in the Liquidating Trust, are hereby authorized and approved in all
respects in accordance with the Plan. Subject to and in accordance with the MDA Stipulation
Order, the MDA Claim shall be fully and completely discharged upon substantial consummation |
of the Plan, notwithstanding any potential applicability of 11 U.S.C. § 1141 (d)(6). The
Liquidating Trust shall be deemed for all purposes to have been created in connection with the
Plan and this Confirmation Order, and the Liquidating Trustee shall have the rights, duties, and
powers as set forth in the Plan and the Liquidating Trust Agreement. Any officer of the
Reorganized Debtor and/or the Liquidating Trustee, as applicable, shall be authorized to take any
action as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan, whether or not specifically referred to in the Plan or any exhibit thereto,
without further order of the Court or further action by the corporation or liquidating trust (as
applicable) or any other person. For the avoidance of doubt, the Debtor, the Reorganized Debtor
and their respective officers and directors and the Liquidating Trust and Liquidating Trustee are
authorized and empowered pursuant to Section 303 of the Delaware General Corporation Law
(the “DGCL”) to take any and all actions necessary or desirable to implement the transactions
contemplated by the Plan and this Confirmation Order, including executing, delivering and
performing under the Plan Documents and all other Plan-related documents, in each case without
any requirement of further vote, consent, approval, authorization or other action by the

stockholders, officers or directors, or notice to, order of, or hearing before this Court. Any or all

21
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 22 of 33

such documents shail be accepted upon presentment by each of the respective state filing offices
and recorded in accordance with applicable state law and shall become effective in accordance
with their terms and the provisions of state law. Immediately prior to the Effective Date, all
existing officers and directors of the Debtor shall be deemed to have resigned from their
respective positions, and the persons who will serve as initial directors and officers of the
Reorganized Debtor will be deemed to have been appointed to such positions immediately on
and as of the Effective Date. From and after the Effective Date, the Reorganized Debtor may
operate its business and manage its affairs and property in accordance with the Plan Documents,
without supervision of or approval by the Bankruptcy Court, and free and clear of any
restrictions of the Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly
imposed by the Plan or this Confirmation Order.

11. Specific Authorizations as to New Equity Interests: Exemption. From and after

the Effective Date, the Reorganized Debtor is authorized to issue the New Equity Interests in
accordance with the provisions of the Plan. Pending the occurrence of the Effective Date, the
Debtor is authorized and directed to take all actions as may be necessary to facilitate the issuance
of the New Equity Interests as of the Effective Date, including, without limitation, executing,
delivering and performing under the various documents, paying any agreed fees and costs, and
providing such other support, assurances and indemnifications as may be required, to facilitate or
implement the Reorganized Debtor’s governing documents, any other Plan Document, or the
issuance and distribution of the New Equity Interests. Upon such issuance the New Equity
Interests shall be duly and validly authorized, issued, and outstanding, fully paid and
nonassessable and not subject to pre-emptive or similar rights of third parties. The exemption
from the requirements of Section 5 of the Securities Act of 1933, and any state or local law

requiring registration for the offer, sale, issuance, exchange or transfer of the New Equity

22
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 23 of 33

Interests provided for in the Plan is authorized by and ordered hereby pursuant to and to the
extent provided under 11 U.S.C. § 1145.

12. Governmental Approvals Not Required. This Confirmation Order shall constitute
all approvals and consents required, if any, by the laws, rules or regulations of any State or any
other governmental authority with respect to the implementation or consummation of the Plan
and any documents, instruments or agreements, and any amendments or modifications thereto,
and any other acts referred to in or contemplated by the Plan, the Disclosure Statement and any
documents, instruments or agreements, and any amendments or modifications thereto.

13. Exemption from Certain Transfer Taxes. Pursuant to 11 U.S.C. § 1146(a), any
transfers from the Debtor to the Reorganized Debtor or the Liquidating Trust or any other person
pursuant to, in contemplation of, or in connection with the Plan, shall not be taxed under any law
imposing a stamp tax, real estate transfer tax, mortgage recording tax, sales or use tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
or government assessment, and the appropriate state or local governmental officials or agents
shall forgo the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment. Such exemption specifically applies, without limitation, to
all documents necessary to evidence and implement distributions under the Plan, including the
documents contained in the Plan Supplement and all documents necessary to evidence and
implement any of the transactions and actions described in the Plan or the Pian Supplement.

14. Applicable Non-Bankruptcy Law. Pursuant to 11 U.S.C. §§ 1123(a), 1123(b) and

1142(a), the provisions of this Confirmation Order, the Plan, or any other amendments or
modifications thereto shall apply and be enforceable notwithstanding any otherwise applicable

non-bankruptcy law. The consummation of the Plan, including the assumption of any executory

23
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 24 of 33

contract or unexpired lease by the Reorganized Debtor, shall not constitute a change in
ownership or change in control under any employee benefit plan or program, financial
instrument, loan or financing agreement, executory contract or unexpired lease or contract, lease
or agreement in existence on the Effective Date to which the Debtor is a party.

15. Appointment of Directors. Pursuant to the Plan Supplement, the selection and
appointment of the following people to the Reorganized Debtor’s board of directors to serve
from and after the Effective Date as provided in the Plan and in accordance with the Plan
Documents is approved: Fred Cannon and Vinod Khosla.

16. Approval of Assumption or Rejection of Contracts and Leases. Unless otherwise

provided herein or in another order of or in proceedings before the Court specifically dealing
with (a) an executory contract or unexpired lease that is subject to assumption pursuant to any
applicable provision of Article VI of the Plan, the assumption of such contract or lease is hereby
approved as of the Effective Date as proposed in the Plan; and (b) an executory contract or
unexpired lease that is subject to rejection pursuant to any applicable provision of Article VI of
the Plan, the rejection of such contract or lease is hereby approved as of the Effective Date as
proposed in the Plan. For the avoidance of doubt, only those contracts and leases listed in the
Assumption Notice (as amended) shall be assumed pursuant to this Confirmation Order. All
other executory contracts and leases to which the Debtor is a party (that were not previously
assumed or rejected by order of this Court) shall be rejected pursuant to this Confirmation Order.

17, Claims Based on Rejection of Executory Contracts and Unexpired Leases.
Claims created by the rejection of executory contracts and unexpired leases pursuant to Article
VLA of the Plan, or the expiration or termination of any executory contract or unexpired lease
prior to the Effective Date, must be filed with the Bankruptcy Court and served on the Debtor

and the Liquidating Trustee and their respective counsel on or before thirty (30) days after the

24
RLFI 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 25 of 33

Effective Date. Except as expressly provided in the Plan or this Confirmation Order, any Claims
arising from the rejection of an executory contract or unexpired lease pursuant to Article VILA
for which proofs of Claim are not timely filed within that time period will be forever barred from
assertion against the Debtor, the Estate, its successors and assigns, and its assets and properties.

18. Transfers by Debtor: Vesting and Revesting of Assets. All transfers of property

of the Estate, including, without limitation, the vesting of assets in the Reorganized Debtor and
the vesting of the Liquidating Trust Assets in the Liquidating Trust in order to make distributions
to holders of Allowed Claims and Interests to be made under Article IIIB of the Plan, (a) are
legal, valid and effective transfers of property, (b) vest the transferees with good title to such
property free and clear of all Claims, Liens, interests, charges or other encumbrances, including
the MDA Claim, except as expressly provided in the Plan or this Confirmation Order, (c) do not
and will not constitute avoidable transfers under the Bankruptcy Code or under applicable law,
(d) do not and will not subject the Reorganized Debtor, the Liquidating Trust or the Liquidating
Trustee to any liability by reason of such transfer under the Bankruptcy Code or under applicable
nonbankruptcy law, including, without limitation, any laws affecting successor, transferee or
stamp or recording tax liability, and (e) are for good consideration and value. Pursuant to 1]
U.S.C. §§ 1141(b) and (c), the assets of the Debtor referenced in Article V.A of the Plan shall
revest in the Reorganized Debtor free and clear of all Claims, Liens, interests, charges and other
encumbrances, including the MDA Claim, except as expressly provided in the Plan or this
Confirmation Order. All Liquidating Trust Assets shall vest in the Liquidating Trust free and
clear of all Claims, Liens, interests, charges and other encumbrances. Such vesting and revesting
does not constitute a voidable transfer under the Bankruptcy Code or applicable non-bankruptcy

law.

25
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 26 of 33

19. Survival of Final DIP Order; Binding Effect of Prior Orders. The terms and

conditions of the Final DIP Order and protections afforded to the DIP Lenders and the
Prepetition Lenders in the Final DIP Order shall continue and survive beyond the Effective Date,
but only to the extent of such terms, conditions and protections provided in the Final DIP Order.
Pursuant to Section 1141 of the Bankruptcy Code, effective as of and subject to the occurrence
of the Effective Date and subject to the terms of the Plan and this Confirmation Order, all prior
orders entered in the Chapter 11 Case, all documents and agreements executed by the Debtor as
authorized and directed thereunder and all motions or requests for relief by the Debtor pending
before the Court as of the Effective Date that ultimately are granted shall continue and survive
beyond the Effective Date, and all provisions of the confirmed Plan shall be binding upon and
shall inure to the benefit of the Debtor, the Reorganized Debtor and their respective successors
and assigns.

20. Effect of Conflict Between Plan and Confirmation Order: Effect of Modifications.

The provisions of the Plan and of this Confirmation Order shall be construed in a manner
consistent with each other so as to effect the purposes of each; provided, however, that if there is
determined to be any direct conflict between any Plan provision and any provision of this
Confirmation Order that cannot be so reconciled, then, solely to the extent of such conflict, the
provisions of this Confirmation Order shall govern and any such provision of this Confirmation
Order shall be deemed a modification of the Plan and shall contro] and take precedence. The
modifications to the Plan set forth in the June 1 version of the Plan do not adversely change the
treatment of any Claim against or Interest in the Debtor, other than with respect to the treatment
of Class 1 and Class 2 Claims (the holders of which have accepted such modifications), and thus
the June 1 version of the Plan complies with Section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019(a). Accordingly, the June | modifications are approved and such version

26
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 27 of 33

of the Plan is deemed to be the Plan under 11 U.S.C. § 1127(f)(2).. Any modifications to the Plan
set forth in this Confirmation Order do not materially and adversely affect the treatment of any
Claim against or Interest in the Debtor. Accordingly, pursuant to 11 U.S.C. § 1127(b) and
Bankruptcy Rule 3019, the Plan does not require additional disclosure under Section 1125 of the
Bankruptcy Code or the resolicitation of acceptances or rejections of the Plan under Section 1126
of the Bankruptcy Code, nor does it require that holders of Claims against or Interests in the
Debtor be afforded an opportunity to change previously cast acceptances or rejections of the Plan
as filed with the Court.

21. Non-Material Modifications. Without the need for a further order or authorization

of this Court, but subject to the express provisions of this Confirmation Order, the Debtor shall
be authorized and empowered as may be necessary to make non-material modifications to the
documents filed with the Court, including the Plan Documents or documents forming part of the
evidentiary record at the Confirmation Hearing, in its reasonable business judgment, but only in
accordance with, and subject to the Plan, and upon notice to any affected parties, including,
without limitation, the MDA.

22. Tax Consequences. In confirming the Plan, this Court has not made any
determination as to the federal tax liabilities or tax consequences of the Plan. Nothing in the
Plan or this Confirmation Order shall: (i) be deemed to be a determination of the federal tax
liability of any person or entity, including but not limited to the Debtor and the Reorganized
Debtor, or (ii) be deemed to be a determination of the federal tax treatment of any item,
distribution or entity, including the federal tax consequences of the Plan.

23. Reversal. If any or all of the provisions of this Confirmation Order are hereafter
reversed, modified or vacated by subsequent order of the Court or any other court, in the absence

of a stay of this Confirmation Order, such reversal, modification or vacatur shall not affect the

27

RLF! 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 28 of 33

validity of the acts or obligations incurred or undertaken in good faith under or in connection
with the Plan prior to the Debtor’s, the Reorganized Debtor’s, the Liquidating Trust’s, or the
Liquidating Trustee’s receipt of written notice of any such order. Notwithstanding any such
reversal, modification or vacatur of this Confirmation Order, in the absence of a stay of this
Confirmation Order, any such act or obligation incurred or undertaken in good faith pursuant to,
and in reliance on, this Confirmation Order prior to the effective date of such reversal,
modification or vacatur shall be governed in all respects by the provisions of this Confirmation
Order and the Plan or any amendments or modifications thereto.

24. Authorization to Consummate Plan. Notwithstanding Fed. R. Bankr. P. 3020(e),
this Confirmation Order shall take effect immediately upon its entry and the Debtor is authorized
to consummate the Plan immediately after entry of this Confirmation Order and the satisfaction
or waiver of all other conditions to the Effective Date of the Plan, in accordance with the terms
of the Plan. The Plan shall only become effective on the Effective Date. On the Effective Date,
the Plan shall be deemed to be substantially consummated under Sections 1101 and 1127 of the
Bankruptcy Code.

25, Payment of Statutory Fees. The Debtor shall pay a sum certain determined by the
U.S. Trustee to the U.S. Trustee for fees currently due pursuant to 28 U.S.C. § 1930(a)(6) on or
prior to the Effective Date. Thereafter, such fees shall be paid when they become due.

26. Administrative Claims Bar Date. All final requests for payment of Professional
Fee Claims for compensation for services rendered or reimbursement of expenses incurred on
behalf of the Estate prior to the Effective Date shall file, on or before the date that is forty-five
(45) days after the Effective Date, their respective applications for final allowances of
compensation for services rendered and reimbursement of expenses incurred. The Debtor,

Reorganized Debtor or Liquidating Trustee, as applicable, shall pay each Professional Fee Claim

28
RLF1 12079040v.2
Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 29 of 33

within fifteen (15) days after such claim becomes an Allowed Claim. All Other Administrative
Expense Claims that are not subject to payment in the ordinary course of the Debtor’s business
were required to be filed with the Bankruptcy Court not later than ten (10) days before the date
scheduled for the Confirmation Hearing and objections (if any) to such Other Administrative
Expense Claim may be filed no later than forty-five (45) days after the Effective Date.

27. Distributions. The Liquidating Trustee, on behalf of the Liquidating Trust, or
such other Person or Entity as may be designated in accordance with the Liquidating Trust
Agreement, will make the distributions to Liquidating Trust Beneficiaries required under the
Plan in accordance with the Liquidating Trust Agreement and in accordance with the priorities
set forth herein and the other provisions of the Plan, and administer and liquidate any assets in
the Liquidating Trust and otherwise wind down the Estate.

28. Notice of Entry of Confirmation Order. No later than five (5) Business Days
following the date of entry of this Confirmation Order, the Debtor shall serve, by first-class mail,
postage prepaid, notice of the entry of this Confirmation Order pursuant to Fed. R. Bankr. P.
2002((7), 2002(k} and 3020(c) on all known holders of Claims and Interests, the U.S. Trustee
and all parties that have requested notice pursuant to Bankruptcy Rule 2002.

29. Non-Occurrence of the Effective Date: Revocation of the Plan. If the Plan is

revoked or withdrawn pursuant to Article VIIIL.E of the Plan prior to the Effective Date, the Plan
and this Confirmation Order shall be deemed null and void. In the event that the conditions to
the occurrence of the Effective Date have not been timely satisfied or waived, and upon
notification Filed by the Debtor with the Bankruptcy Court, this Confirmation Order shall be
vacated and the Debtor and all parties in interest shall be restored to the status quo ante. If this
Confirmation Order is vacated this Plan shail be null and void in all respects and nothing

contained in this Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any

29
RLFI 12079040v.2
Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 30 of 33

Claims by or against, or any Equity Interests in, the Debtor; (2) prejudice in any manner the
rights of the Debtor or any other Person or Entity; or (3)constitute an admission,
acknowledgment, offer or undertaking by the Debtor in any respect.

30. Notice of Effective Date. Within five (5) Business Days following the occurrence
of the Effective Date, the Reorganized Debtor shall file notice of the Effective Date with the
Court and serve a copy of such notice on the parties that have requested notice pursuant to
Bankruptcy Rule 2002.

31. FCC Issues. No provision of this Confirmation Order or any other Order of this
Court relieves the Debtor or the Liquidating Trustee from the obligation to comply with the
Communications Act of 1934, as amended, and the rules, regulations and orders promulgated
thereunder by the Federal Communications Commission (FCC) and, notwithstanding any other
provision of this Confirmation Order or any other Order of this Court, no assignment of any
rights and interests of the Debtor in any federal license or authorization issued by the FCC shall
take place prior to the issuance of FCC regulatory approval for such assignment pursuant to the
Communications Act of 1934, as amended, and the rules, regulations and orders promulgated
thereunder. The FCC’s rights and powers to take any action pursuant to its regulatory authority,
including, but not limited to, imposing any regulatory conditions on such assignments and setting
any regulatory fines or forfeitures, are fully preserved, and nothing herein shall proscribe or
constrain the FCC’s exercise of such power or authority. Other than with respect to matters for
which the Court has exclusive jurisdiction under 28 U.S.C. § 1334, nothing in this Order divests
any tribunal of any jurisdiction it may have under any FCC law and any rules, regulations and
orders pertaining thereto.

32. Southern Jonics Incorporated. The settlement agreement (the “Settlement

Agreement”) attached hereto as Exhibit B by and among the Debtor and Southern Ionics

30
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 31 of 33

Incorporated (“SII”) is approved and any informal objection to the Plan of SII is resolved
pursuant to the Settlement Agreement.

33. Retention of Jurisdiction. This Court shall retain jurisdiction over all matters

arising out of, and related to, the Chapter 11 Case and the Plan to the fullest extent permitted by
law, including, without limitation, jurisdiction to:

(a) Allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim or Equity Interest, including the resolution of any
request for payment of any Administrative Expense Claim and the resolution of any and all
objections to the allowance or priority of Claims;

(b) Grant or deny any applications for allowance of Professional Fee Claims;

(c) Resolve any matters related to the assumption, assumption and assignment or
rejection of any executory contract or unexpired lease to which the Debtor is party or with
respect to which the Debtor may be liable and to hear, determine and, if necessary, liquidate, any
Claims arising therefrom;

(d) Ensure that distributions to Holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan;

(e) Decide or resolve any motions, adversary proceedings, contested or litigated
matters and any other matters, including all Vested Causes of Action and objections or
estimations to Claims or Equity Interests, and grant or deny any applications involving the
Debtor that may be pending on the Effective Date, or that, pursuant to the Plan, may be instituted
by (i) the Liquidating Trustee or Liquidating Trust, or (ii) any other Person or Entity after the
Effective Date; provided, however, that the Liquidating Trustee and the Liquidating Trust shail

reserve the right to prosecute the Vested Causes of Action in all proper jurisdictions;

31
RLF1 £2079040v.2
Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 32 of 33

(f) Enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and of all contracts, instruments, releases, indentures and
other agreements or documents created in connection with the Plan, the Disclosure Statement or
the Liquidating Trust Agreement;

(g) Resolve any cases, controversies, suits or disputes that may arise in connection
with the consummation, interpretation or enforcement of the Plan, the Liquidating Trust
Agreement or any Person’s or Entity’s obligations incurred in connection with the Plan or
Liquidating Trust Agreement including those relating to determining the scope and extent of the
Liquidating Trust Assets;

(h) Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Person or Entity with
consummation or enforcement of the Plan, except as otherwise provided herein;

(i) Resolve any cases, controversies, suits or disputes with respect to the releases,
injunctions and other provisions contained in Article X of the Plan and enter any orders that may
be necessary or appropriate to implement and enforce such releases, injunctions and other
provisions;

(j) Enter and implement any orders that are necessary or appropriate if this
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

(k) Determine any other matters that may arise in connection with or related to the
Plan, the Disclosure Statement, this Confirmation Order, the Liquidating Trust Agreement or any
contract, instrument, release, indenture or other agreement or document created in connection
with the Plan, the Disclosure Statement or the Liquidating Trust Agreement;

(I) Resolve any issues that arise in connection with the administration of and

distributions from the Liquidating Trust; and

32
RLF1 12079040v.2

Case 14-12514-CSS Doc 640 Filed 06/09/15 Page 33 of 33

(m) Enter an order and/or Final Decree concluding the Chapter 11 Case.

Dated: June , 2015

Wilmington, Delaware (CShtr~~ .
N\

THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

33
RLF1 12079040v.2

